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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
UNITED STATES OF AMERICA
V. CASE NO. 3:19cr00116

DUSTIN SCOTT FILES,

Defendant.

ORDER

This matter comes before the Court on the Addendum to the Petition on Supervised
Release, (the “Addendum’’), (ECF No. 56), filed on July 30, 2021. On September 9, 2021 the
Court held oral argument on the Addendum and considered the evidence the Parties presented.
For the reasons stated from the bench, the Court adjudged the Defendant guilty of violating the
terms of his supervised release as outlined in the Addendum. Finding that the statutory
maximum sentence is sixty (60) months and the advisory Guideline range is six (6) to twelve
(12) months, the Court herby REVOKES the Defendant’s supervised release. For the reasons
stated from the bench, the Court ORDERS that the Defendant is sentenced to a term of
imprisonment for a period of THIRTY (30) MONTHS with credit for time served and no term of
Supervised Release to follow.

It is SO Ordered.

 

United States Distri¢t Tudge

Date: O4 /10/202 \
Richmond, Virginia
